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February 10, 2020


Judge Deborah K. Chasanow
6500 Cherrywood Lane, Suite 400
Greenbelt, MD 20770




Dear Judge Chasanow,

I am writing to request your most humane considerations with the sentencing of Cathy Pugh, former
mayor of Baltimore.

I am Diane Latta, retired Hospital Administrator, Amita Saint Francis Hospital, Evanston, Il., but more
importantly for this correspondence, I’ve been of friend of Cathy Pugh for the past 50 years. I attended
Morgan State University from 1969 - 1973, when I met Cathy.

During these years, there was tumultuous happenings in our country at large...the assassination of Dr.
Martin Luther King, Jr. and Attorney General Robert Kennedy. So much discord and unrest around us all
as a country. In conversations with Cathy and others, her position was, lets uphold a nonviolent platform
and unite with our voices and participate in our democratic process. This is probably when her desires
were ignited for a career in public service, to help others, especially the underserved. Also, being
committed to health and fitness, Cathy encouraged all to partake in this lifestyle; hence her children’s
books educating and promoting a healthy lifestyle, starting at a young age.

The crimes that she has plead guilty to is not indicative of who Cathy is. She is greatly remorseful and
has learned and grown from her poor judgment and total embarrassment to the community and to herself.
She did fail her trusted community.

 However, it is my hope you would consider all of Cathy’s works and public service as you deliberate
your judgment. Her service on the Baltimore City Council 1999-2004, Maryland General Assembly
2005-2007, State Senate 2007-2016. As the State Senate Majority Leader, Cathy led the state on cyber
security, telemedicine expansion legislation, diversified the state’s $40 billion pension portfolio, having
led the passage of Senate Bill 606, which increased black and other minority managed dollars from $300
million to $4.2 billion. As mayor, she addressed illegal possession of guns in many parts of Baltimore to
address the city’s soaring violence rate. Please consider these public works.

Thank you for the opportunity to be heard on this matter and every consideration.

Sincerely,

Diane Latta
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The Honorable Deborah K. Chasanow

U.S. District Court for the District of Maryland
    c/o Abigail Ticse, Esq.
Silverman, Thompson, Slutkin & White
201 North Charles Street
Suite 2600
Baltimore, MD 21201
Dear Judge Chasanow:

I am writing to humbly request that as you consider the sentencing for former Mayor Catherine
Pugh that you would also consider the transformative impact she has had toward the restoration
of our city. I have know Mayor Pugh personally for over 30 years. And I have watched her work
ambitiously in her pursuit of political office to make a real difference in our inner city
communities that have suffered neglect, violence and dilapidation for decades.

Cathy’s ambition for political office was only outmatches by her empathetic heart and help for
the residents of Baltimore. She walked with us through the communities quelling violence after
the wrongful death of Freddie Gray. She included the faith community and residents alike in her
appointment of Police Commissioners. And when we as a church and CDC were able to develop
the East Baltimore Revitalization Plan that was adopted by the City’s Planning Department,
Mayor Pugh further empowered the plan with unprecedented support. She listened to our voices
about the former Pacquin School for Girls in which her vision was to develop it into a drug
rehabilitation center, instead she acquiesced to our vision to allow the Lillie Mae Jackson Middle
School, a chartered school for girls to acquire and renovate the property as their home to over
350 5th through 8th grade girls. This was big in Mayor Pugh’s Orr, because she was clear about
her passion for public over chartered schools. But she put the community first.

I could write incessantly about the essence of Cathy Pugh’s character and commitment to the
least, the lost and left out. As Baltimore strives to move forward it is important that we not
continue to see our leaders like Cathy Pugh be tormented further through the process of justice.
She has suffered mentally and emotionally without the balance of time to restore her public and
political image and position. I pray that you would temper justice with mercy in her case
knowing that her imprisonment would only further imprison our community’s hopes and
thoughts about what justice means for our leaders who have given much more than they have
taken to change the trajectory of our city and truly restore its citizens. Thank you for your
consideration.

Sincerely,

Bishop Donté’ L. Hickman, SR.
Pastor, Southern Baptist Church
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                                  “Changing Lives, Building Legacies”


February 24, 2020

The Hon. Deborah K. Chasanow
U.S. District Court for the District of Maryland
       c/o Abigail Ticse, Esq.
Silverman, Thompson, Slutkin and White
201 North Charles Street, Suite 2600
Baltimore, MD 21201

Dear Judge Chasanow:
       My name is Rev. Sheridan “Todd” Yeary, and I serve as the senior pastor of Douglas
Memorial Community Church in Baltimore City. I write to appeal to your sense of fairness and
mercy as you contemplate the appropriate sentence for former mayor, Catherine Pugh. I have
known Catherine for over ten years, in my capacity as pastor, policy advocate, and government
appointee to state and local boards and commissions. During the tenure of our relationship, I
have known Catherine Pugh to be thoughtful, concerned, and committed to the interests of the
most vulnerable of our fellow citizens/residents.
        Catherine’s career in public service has been marked by ever-increasing responsibility,
as she has served in the City Council, House of Delegates, State Senate, and as Mayor of
Baltimore. During these years of service, her legislative career is marked by a demonstrated
advocacy for equity in professional services opportunities, working to address the concerns of
forgotten communities, and investing in the future of our city through educational opportunities
for the graduates of Baltimore City Public Schools. Not only did Catherine Pugh demonstrate
her commitment to the needs of her constituents, she also served as a leadership model for her
colleagues across the country during her years of elected service.
        Catherine Pugh stood with many at Penn North, who were hurting and frustrated in the
aftermath of Freddie Gray’s death in 2015. Every night during the curfew, I saw Catherine Pugh
(often by the side of our late Congressman Elijah Cummings) walk the streets of Penn North
hugging, encouraging, and protecting the people in and of the community. On a personal level,
Cathy has touched many in our city, my youngest children among them. They know her as
“Aunt Cathy,” another of those fictive kinfolks whom we all seem to have known at some point or
other. Aunt Cathy has embraced our little ones from their earliest years, and she has found
some joy and laughter as they have spent time in each other’s presence.
        Having seen Catherine Pugh’s expressed concern for, and commitment to, others
makes writing this letter more painful. The charges to which she has pled guilty are serious,
and her admission of wrongdoing has been painful to me because I thought I knew Catherine
better than this. I never knew this Catherine Pugh. However, I have prayed with her as her
sobs of shame and embarrassment were a soundtrack to a plea for divine comfort, healing and
forgiveness. I have spoken with her during periods where even the thought of leaving the house
brought an anxiety born of the shame in knowing that “everybody knows, and I have let them
down.” The days of acknowledging the good that she has done will forever be muted by the


                                                                             Yeary/Pugh Letter - 1
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Furthermore, this program worked with the Department of Housing and Community Development
to effectuate zoning changes to liquor stores where there was a high correlation between the
extended store hours and violent crime. Her decision to direct the office of zoning to work with
store owners to modify liquor licenses was wildly unpopular with the business community, but Ms.
Pugh believed that this approach was necessary to improve the safety of the
communities affected. In fact, during a drive to a meeting, she told her executive protection to pull
over without warning and jumped out of the car to confront a drug dealer in front of a liquor store
and its owner. While dangerous, it was an obvious reflection of her willingness to roll up her sleeves
and confront some of the city's problems personally and directly.

I left the Mayor's Office for my dream job shortly before Ms. Pugh's investigation was known but
worked with her for 28 months. I am certain that without the opportunity she afforded me, I would
have never been selected for my current position. Despite her actions, I am still appreciative of Ms.
Pugh. Her love for this City was infectious and her work ethic obvious. Please consider her deeds, in
evaluating her misdeeds, as I strongly believe that Ms. Pugh tried to improve the life of her
constituents every single day she was in office.



                                                       Sincerely,

                                                       _____/s/_____
                                                       Shonte Eldridge
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                    Aging People in Prison Human Rights Campaign

      Date: Monday, February 24, 2020

      To: U.S. District Judge Deborah K. Chasanow

      c/o Attorney Steven Silverman; Silverman Thompson

      Re: Mayor Catherine Pugh; Baltimore City

       Aging People in Prison Human Rights Campaign is a human rights
organization dedicated to advocating for the human rights and release of aging
prisoners. Our specific target demographic prison population are those that have
aged in prison and are now serving 30, 40, 50, even 60 years or more/ at the age
of 50 or more.

       APP-HRC was created as a remedy and a solution to aid in rebalancing the
criminal justice system to one of justice. Elderly prisoners which by 2030 will have
risen by 400% and with 1 in 4 prisoners of the age of 50 is a signal and a warning
that the current criminal justice is skewed and in an crisis mode.

       To be sent to prison at age 60, 70, 80 years old would deemed it necessary
to look at the culture/society from which that person emerges and the
laws/policies that are referenced to and applied when social, criminal, mental ills
appear before the courts. As we get referrals, requests from aging prisoners for
assistance, it is those at the age of 70 or more we prioritize first and begin
aggressive freedom campaigns to help them towards release from prison.

     Thus, we find it necessary to submit a sentencing recommendation for
former Mayor Catherine Pugh.



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       In preparing this sentencing recommendation letter on Ms. Pugh’s behalf,
our team of formerly incarcerated aging men and women did research based on
similar examples, first vs recurrent offense, psychology, health, education, and life
narrative. See the following examples…

Examples…

   • Mayor Marion Barry; Washington DC- 5 months federal prison
   • Mayor Kwame Kilpatrick; Detroit, MI-4 months.
   • Martha Stewart; NY- 5 months, 2 years supervised release.
   • Mayor Guy Thompson; Pensacola, FL -51 months prison.
   • Police Commissioner Darryl DeSousa; Baltimore-10 months federal prison.
   • Mayor Shawn Morse; Albany, NY-2 years’ probation, fined $3,000, 200
     hours community service
   • Mayor Sheila Dixon; Baltimore, MD- probation, resign as mayor.
   • Mayor Reggie Tatum; Opelousas, LA- 2 years’ probation. 34 hours
     community service.
   • Mayor Joseph Alexander, Cotton Valley, LA- 1 year in prison, $1000 fine, 20
     hrs. community service.

Aging Prisoners

   In our advocacy, communal work for, with, and behalf of aging women and
men incarcerated in prisons across North America, we have concluded aging in
prison is not only debilitating for the person, but community and city. Research
has shown people incarcerated begin to age immediately 10-15 years beyond
their biological cage. The physiological and psychological reason for this is the
human spirit wasn’t made to spend periods of time isolated from human society
surrounded by steel and concrete. For the aging person in prison the life course is
harsh and works toward a slow death of mind, body, and soul.

    Legal techniques and applications such as restorative/reparative justice,
mitigation, mental health/restorative courts, and evidence based paradigms must
begin to be applied to American citizens as they come before the judicial system.
The following are two recent examples of aging people who committed crimes
and the sentencing the judge applied:



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   • Betty J. Brown; 67 years old, Merrillville; IN- 3 years’ community
     corrections work release program.- homicide 53 year old woman. Feb 2020.
   • Sandy Hawkins; 74 years old, Boca Raton, FL- pled guilty bank robbery,
     sentenced 12 months to transitional housing facility. February 2020.

      And for women period who age in prison, the impact on their mental and
physical appears to be more devastating than men while in prison and upon
release from prison.

Restorative Justice

       Citizens like Mayor Catherine Pugh due to a lifetime of civil/community
service have become integrated into the very fiber of the city and people’s lives
that they have come to touch on a very intimate level.

      Mayor Pugh’s crime was not just financial; a crime against the economic
system but the community. Thus, her crime and sentencing should be applied the
same way. Restorative Justice is the lens that should be applied to Mayor Pugh,
not for her sake but Baltimore City.

      In the American context; culturally and historically punitive punishment is
the normative approach, the judicial impulse is to make her an example, to send a
message. But does her being the example or message really amount to anything
constructive for the community? Today may be the time to set a real example,
maybe even past time, that of not criminal justice which is punitive, but
restorative justice which is more humane and indicative of change as a collective.
Her communal footprint, political tapestry, and social capital are too big in
Baltimore City to withstand the communal losses for long periods of time.




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Recommendations

If prison time is recommended the maximum time; 5 months.

Community Service; 2000 hours.

1 year work-release program.

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Anthropologist; Founding Director; APP-HRC. 2019.
For further information or contact; Tomiko Shine; Cultural Anthropologist;
Founding Director, Aging People in Prison Human Rights Campaign (APP-HRC),
www.apphrc.com, dcapphrc@gmail.com


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